UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

QUIMERA RESTAURANT GROUP LLC                                   Chapter 7
                                                               Case No.: 18-41986-cec
                                        Debtor.
– – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X
DAVID J. DOYAGA, SR., AS TRUSTEE OF THE
ESTATE OF QUIMERA RESTAURANT GROUP LLC
                                                               Adv. Pro. No.: 20-01041-cec

                                       Plaintiff,
               -against-

URBAN SPACE HOLDINGS, INC.,

                    Defendant.
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        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel and representative for the parties herein, as follows:

               1.      The time for defendants, Urban Space Holdings, Inc., to answer or to
move with respect to the complaint herein is hereby extended from May 13, 2020 to June 15,
2020.

               2.      For purposes of this Stipulation, facsimile and/or email signatures shall be

deemed originals. The parties may execute this Stipulation in counterparts and each counterpart

so executed by each party shall constitute an original.
               3.      Defendant hereby waive any defense based on improper process of

service.

               4.      The Parties respectfully request this Honorable Court adjourn the pretrial

conference to a date acceptable to this court consistent with this Stipulation.

Dated: New York, New York
       May 13, 2020

ROSEN & KANTROW, PPLC                                      Representative for Defendant
Attorneys for Plaintiff                                    Urban Space Holdings, Inc.
David J. Doyaga Sr., as Trustee of The Estate
of Quimera Restaurant Group

                                                           By:     /s/ Eldon Scott_
By:    /s/ Nico G. Pizzo                                           Eldon Scott
       Nico G. Pizzo
       Avrum J. Rosen
38 New Street
Huntington, New York 11743
(631) 423-8527


SO ORDERED:




                                                                 ____________________________
 Dated: Brooklyn, New York                                               Carla E. Craig
        May 18, 2020                                             United States Bankruptcy Judge
